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14   Philips Electronics North America Corporation
15
                               UNITED STATES DISTRICT COURT
16                           NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
17

18

19   In re: CATHODE RAY TUBE (CRT)                    Case No. Master File No. 3:07-cv-5944-SC
     ANTITRUST LITIGATION
20                                                    MDL No. 1917
     This Document Relates to:
21                                                    DECLARATION OF
                                                      TIFFANY B. GELOTT IN SUPPORT OF
22   Dell Inc. and Dell Products L.P. v. Hitachi      DEFENDANTS’ JOINT MOTION FOR
     Ltd. et al., No. 13-cv-02171                     SUMMARY JUDGMENT BASED UPON
23                                                    PLAINTIFFS’ FOREIGN
                       .                              TRANSACTIONS BARRED BY THE
24                                                    FTAIA

25
                                                      Judge:     Hon. Samuel P. Conti
26                                                    Court:     Courtroom 1, 17th Floor
                                                      Date:      February 6, 2015, 10 a.m.
27

28
     DECLARATION OF MS. TIFFANY GELOTT IN SUPPORT DEFENDANTS’ JOINT MOTION FOR SUMMARY
     JUDGMENT BASED UPON PLAINTIFFS’ FOREIGN TRANSACTIONS BARRED BY THE FTAIA (3:07-CV-05944 SC,
     MDL NO. 1917)
     Case 4:07-cv-05944-JST Document 3003-1 Filed 11/07/14 Page 2 of 2



 1           I, Tiffany B. Gelott, declare and state as follows:

 2           1.     I am an associate with Baker Botts LLP, counsel of record for Defendants

 3   Koninklijke Philips N.V. and Philips Electronics North America Corporation in this action. I am

 4   a member of the bar of the District of Columbia and have been practicing before this Court in the

 5   above captioned matter on a pro hac vice basis. I make this Declaration in Support of

 6   Defendants’ Joint Motion for Summary Judgment Based Upon Plaintiffs’ Foreign Transactions

 7   Barred by the Foreign Trade Antitrust Improvements Act (“FTAIA”).

 8           2.     The information contained herein is based on my own personal knowledge and if

 9   called as a witness I could, and would, testify competently that the matters set forth herein are

10   true and accurate to the best of my recollection.

11           3.     The materials referenced in this declaration were all designated by Dell Inc. and

12   Dell Products L.P. (“Plaintiffs”) as “Highly Confidential” and filed under seal. Therefore, there

13   is an overriding interest in not disclosing the materials and Defendants must file these documents

14   under seal to safeguard the confidentiality of each document.

15           4.     Attached hereto as Exhibit A is a true and correct copy of Plaintiffs’ Supplemental

16   Responses to Defendants LG Electronics, Inc.’s and Samsung SDI Co. Ltd’s First Set of

17   Interrogatories, Nos. 8 and 9, dated June 16, 2014.

18           5.     In support of its Joint Motion, Defendants have attached, as Exhibit B, true and

19   correct copies of excerpts from the Oral Videotaped Deposition of Julie French, dated June 2,

20   2014.
21           I declare under penalty of perjury under the laws of the United States that the foregoing is

22   true and correct. Executed this 7th day of November, 2014 at Washington, District of Columbia.

23

24                                                       /s/ Tiffany B. Gelott___________
                                                         Tiffany Gelott
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                                                         1
28    DECLARATION OF MS. TIFFANY GELOTT IN SUPPORT DEFENDANTS’ JOINT MOTION FOR SUMMARY
      JUDGMENT BASED UPON PLAINTIFFS’ FOREIGN TRANSACTIONS BARRED BY THE FTAIA (3:07-CV-05944 SC,
      MDL NO. 1917)
